               Case 1:08-cr-00212-AWI Document 55 Filed 12/02/08 Page 1 of 2


 1   LAW OFFICE OF DAVID A. TORRES
     Attorney at Law, SBN 135059
 2   1318 K Street
     Bakersfield, CA 93301
 3   Ph.: (661)326-0857
     Fax.: (661) 326-0936
 4   e-mail: lawtorres@aol.com
 5   Attorney for Defendant
     HARJEET MANN
 6
 7
 8
                   IN THE UNITED STATES DISTRICT COURT
 9
               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12
     UNITED STATES OF AMERICA,                            Case No.: 08-CR-00212 OWW
13                        PLAINTIFF,
                                                          DEFENDANTS REQUEST AND
14                                                        WAIVER OF APPEARANCE
15   HARJEET MANN,
16                                 DEFENDANT.
17
18   Defendant hereby requests a Court Order waiving his appearance at his Motions Hearing
19   scheduled for Monday, December 1, 2008.
20          In a conversation with the Defendant on 24, November, 2008, he informed me that he
21   does not wish to be present at the Motion hearing. Defendant hereby waives his presence
22   Motions hearing on Monday, December 1, 2008 at 1:30 p.m. and requests the Court to proceed in
23   his absence and agrees that his interests will be deemed the same as if he was personally present.
24   This request is made pursuant to Fed R. Crim. P. 43 (b)(2)
25   Dates: November 25, 2008
26   /s/ David Torres                                             /s/ Harjeet Mann
     Defendants Counsel                                           Defendants Signature
27
28
              Case 1:08-cr-00212-AWI Document 55 Filed 12/02/08 Page 2 of 2


 1                                        ORDER
 2         GOOD CAUSE APPEARING, it is hearby ordered that the defendant’s appearance may
 3   be waived on December 1, 2008.
 4         IT IS SO ORDERED.
 5   Dated: December 1, 2008                    /s/ Oliver W. Wanger
     emm0d6                                UNITED STATES DISTRICT JUDGE
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
